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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                                BUTTE DIVISION

 GENERAL STAR INDEMNITY                    )
 COMPANY,                                  ) Case No. CV-21-22-BU-BMM-JTJ
                                           )
                          Plaintiff,       )
                                           )
 v.                                        )       COMPLAINT FOR
                                           )       RESCISSION AND
 NORTH AMERICAN INDIAN                     )        DECLARATORY
 ALLIANCE - BUTTE; C.G.; A.S.; R.R.;       )          JUDGMENT
 D.T.; and C.M.                            )
                                           )
                          Defendants.


        Pursuant to 28 U.S.C. § 2201 and Rule 57 of the Federal Rules of Civil

Procedure, General Star Indemnity Company (“GenStar”), by and through its

undersigned counsel, brings this Complaint for Rescission and Declaratory

Judgment against the North American Indian Alliance - Butte (“NAIA”), stating as

follows:



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                              NATURE OF THE ACTION

        1.       GenStar seeks rescission of the Miscellaneous Health Care Facilities

Policy No. IJG415121F, which it issued to NAIA for the policy period of

September 16, 2018 to September 16, 2019 (the “Policy”) because, at the time that

NAIA applied for the Policy, NAIA failed to disclose that a physician employed by

NAIA for nearly fifteen years, Dr. Patrick McGree, had been criminally charged

with sexual assault of female patients.

        2.       GenStar further, and in the alternative if the Policy is not rescinded,

seeks a declaration that the Policy does not impose any obligation on GenStar to

defend or indemnify NAIA in the class action lawsuit captioned C.G., et al. v.

North American Indian Alliance, et al., No. DV-19-53, Second Judicial District

Court of Silver Bow County, Montana (the “Underlying Lawsuit”). As set out in

further detail below, the Underlying Lawsuit does not fall within the Policy

because it is based upon alleged misconduct that began prior to the retroactive date

in the Policy.

                                         PARTIES

        3.       Plaintiff General Star Indemnity Company is an insurance company

organized under the laws of Delaware, and its principal place of business is in

Stamford, Connecticut.




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        4.       Defendant North American Indian Alliance - Butte is a non-profit

organization that provides health care services. Upon information and belief,

North American Indian Alliance -Butte is organized under the laws of Montana,

and its principal place of business is in Butte, Montana.

        5.       Upon information and belief, Defendant C.G. is an individual residing

in Silver Bow County, Montana.

        6.       Upon information and belief, Defendant A.S. is an individual residing

in Silver Bow County, Montana.

        7.       Upon information and belief, Defendant R.R. is an individual residing

in Silver Bow County, Montana.

        8.       Upon information and belief, Defendant D.T. is an individual residing

in Silver Bow County, Montana.

        9.       Upon information and belief, Defendant C.M. is an individual residing

in Silver Bow County, Montana.

                            JURISDICTION AND VENUE

        10.      This Court has original subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1332 because it is a civil action in which the amount in

controversy exceeds $75,000, exclusive of interest and costs, and is between citizens

of different states.

        11.      Declaratory relief is authorized pursuant to 28 U.S.C. § 2201.


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        12.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because

a substantial part of the events or omissions giving rise to the claim occurred in this

district.

                              FACTUAL ALLEGATIONS

        A.       Dr. McGree and NAIA’s Application for Insurance

        13.      Upon information and belief, Dr. Patrick McGree was a physician at

NAIA from 2004 to 2017.

        14.      Upon information and belief, during his time at NAIA, Dr. McGree

regularly saw patients alone in examination rooms and in his office.

        15.      On September 14, 2017, Dr. McGree resigned from NAIA, stating

that he was retiring from medicine.

        16.      A few days later, on September 18, 2017, a spokesperson for the State

of Montana announced that Dr. McGree was under investigation with the state’s

Division of Criminal Investigation at the request of the Butte-Silver Bow County

Sheriff’s Department. This announcement was reported in the local news.

        17.      In December of 2017, Dr. McGree was arrested and criminally

charged by state prosecutors with two felony counts of sexual intercourse without

consent, three felony counts of sexual servitude for allegedly using prescription

pain pills for coercion, and two counts of misdemeanor sexual assault of female




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patients. Those charges were based on interviews with three former patients, who

alleged that they were victims of Dr. McGree during his time at NAIA.

        18.      The criminal charges against Dr. McGree were widely reported in the

local news at the time that they were made, and NAIA was aware of these criminal

charges; NAIA has since admitted in writing to GenStar that it had learned of the

accusations against Dr. McGree in December, 2017, from local news outlets.

        19.      On August 27, 2018, NAIA submitted an application for insurance to

GenStar that sought, among other things, claims made insurance coverage for

sexual abuse or molestation (the “Application”). A true and accurate copy of the

Application is attached hereto as Exhibit A.

        20.      Among other questions, Question V.3.a on the Application asked if

NAIA was aware of “known losses or claims that have not been reported to a prior

insurance carrier or any other source from which payment might be made?” NAIA

responded “no.”

        21.      Among other questions, Question V.3.b on the Application asked if

NAIA had “[k]nowledge of facts or circumstances that relate to a medical

incident(s) arising from professional services which could reasonably result in a

claim?” NAIA responded “no.”




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        22.      Among other questions, Question V.3.c on the Application asked if

NAIA had “[k]nowledge of any requests by a patient and his/her attorney which

might result in a claim?” NAIA responded “no.”

        23.      GenStar issued the Policy in reliance on NAIA’s representations in the

Application.

        B.       The Policy

        24.      GenStar issued Miscellaneous Health Care Facilities Policy No.

IJG415121F to NAIA for the policy period of September 16, 2018 to September

16, 2019 (the “Policy”), which, subject to its terms, conditions, and exclusions,

provides claims made and reported professional liability insurance coverage and

general liability coverage. A true and accurate copy of the Policy is attached

hereto as Exhibit B.

        25.      The Policy’s retroactive date for Abuse or Molestation claims is

September 16, 2005 (the “Retroactive Date”).

        26.      The Insuring Agreement of the Professional Liability Coverage in the

Policy provides, in relevant part, that:

                 1. Insuring Agreement
                 We will pay all amounts up to our Limit of Insurance that
                 an Insured becomes legally obligated to pay as damages
                 because of:

                 a. Claims first made against an Insured during the
                 policy period arising from a medical incident that takes

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                 place on or after the Retroactive Date shown in the
                 Declarations or an Endorsement or Schedule attached to
                 this policy and prior to the end of the policy period and
                 reported to us in writing during the policy period or
                 within thirty (30) days thereafter or during any Optional
                 Extended Reporting Period, if applicable;

                 b. Claims first made against an Insured after the end of
                 the policy period arising from medical incident that
                 takes place within the coverage territory on or after the
                 Retroactive Date shown in the Declarations or an
                 Endorsement or Schedule attached to this policy and
                 prior to the end of the policy period, provided that you
                 give us notice of said potential claim arising from such
                 medical incident during the policy period.
                 …

                 There is no coverage under this policy for any claim
                 arising from a medical incident that took place before
                 the Retroactive Date shown in the Declarations or an
                 Endorsement or Schedule attached to this policy.

        27.      The Policy defines “medical incident” as follows:

                 Medical Incident means any act, error or omission, or a
                 series of related acts, errors or omissions, in the
                 providing of or failure to provide professional services
                 including the actual, threatened, attempted, proposed or
                 alleged abuse and/or molestation of a patient of an
                 insured if a sublimit for Abuse or Molestation is shown
                 in the Limits of Insurance in the Declarations. This
                 includes an Insured’s responsibility for anyone acting
                 under the Insured’s direction or control.

        28.      The Declarations page of the Policy includes a sublimit of $1 million

per claim and in the aggregate for Abuse or Molestation.

        29.      The Policy also states that:


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                 c. An abuse or molestation claim, including a related
                 abuse or molestation claim or potential claim, if such
                 coverage is indicated as provided in the Declarations,
                 will be deemed:

                 (1) To have occurred at the time of the first abuse or
                 molestation incident;

                 2) To be covered under this Coverage Part only if the
                 first abuse or molestation incident takes place on or
                 after the Retroactive Date shown in the Declarations or
                 Endorsement or Schedule attached to this policy and
                 before the end of the policy period and is made and
                 reported in accordance with Paragraph 1 a. and b. of the
                 Insuring Agreement.

                 d. All related claims, including related abuse or
                 molestation claims, whenever made and reported, will
                 be deemed to constitute a single claim first made and
                 reported to us within the policy period in which the
                 earliest of the related claims was first made and reported
                 to us within the policy period in which the earliest of the
                 related claims was first made and reported to us or when
                 we first received notice of a potential claim that gave
                 rise to such related claims.

                 e. All damages arising from related abuse or
                 molestation claims, whenever made and reported, will
                 be deemed to be a single claim:

                 (1) Whether committed by the same person or two or
                 more persons acting in concert and without regard to the
                 number of:

                 (a) Acts of abuse or molestation taking place after the
                 first abuse or molestation;
                 (b) Victims of abuse or molestation;

                 (c) Locations where the abuse or molestation took
                 place:


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                 (d) Policy periods over which the abuse or molestation
                 took place; or
                 (e) Breaches of any legal obligation arising out of any
                 abuse or molestation, or suspected or threatened abuse or
                 molestation, or breach of any duty to any person who
                 was abused or molested.

        30.      The Policy contains the following additional definitions:

                 1. Abuse or Molestation means:

                 a. The alleged, actual, threated, unwelcome or offensive:

                     (1) Physical conduct, including sexual abuse or
                     molestation; or
                     (2) Verbal or written conduct or conduct using visual
                     images, including conduct by electronic means;
                     Including:

                     b. The negligent

                          (1) Employment;

                          (2) Investigation;
                          (3) Supervision;
                          (4) Reporting to proper authorities, or failure to so
                          report; or

                          (5) Retention;
                 of a person for whom any insured is or ever was legally
                 responsible, and who conduct is defined by Paragraph
                 1.a.(1) and (2) above; and

                 c. Breach of any legal obligation arising out of any abuse
                 or molestation event, or suspected or threatened
                 molestation, or breach of any duty to any person who was
                 abused or molested.

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                 ***

                 22. Related abuse or molestation means acts having a
                 common nexus with, or involving, a series of casually or
                 logically related acts.

        31.      The Policy further provides that:

                 Rescission, Concealment, Misrepresentation, Fraud
                 By signing the application for insurance and accepting
                 this policy, you on behalf of all Insured agree, represent
                 and warrant that:

                 a. The statements and information contained in the
                 Application, including all statements, information and
                 documents referenced in, accompanying, or relating to,
                 the Application are:
                 (1) Incorporated in and made part of this policy by
                 reference;
                 (2) accurate and complete and no facts have been
                 suppressed, omitted or misstated; and
                 (3) Material to us, and we have issued this policy in
                 reliance upon the truth, completeness and accuracy of the
                 information contained in the application and its
                 supporting documents;
                 b. Any failure to fully and accurately disclose the
                 information requested in the Application, whether by
                 omission or suppression, or any misrepresentation in the
                 statements and information contained in the Application,
                 including all statements, information and documents
                 referenced in, accompanying, or relating to, the
                 application, renders coverage for any claim(s) or
                 potential claim(s) null and void and entitles us to rescind
                 the policy from its inception.




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        C.       The Underlying Lawsuit

        32.      On February 20, 2019, the Underlying Lawsuit was filed in the

Montana Second Judicial District Court of Silver Bow County, State of Montana

by a purported class of former female patients of Dr. McGree. On March 12, 2019,

the purported class filed their Amended Class Action Complaint against NAIA and

unidentified Doe Defendants who are described as “John Does 1 through 30.” A

true and accurate copy of the Amended Complaint is attached hereto as Exhibit C.

        33.      The Underlying Lawsuit alleges that Dr. McGree worked for NAIA as

NAIA’s primary care physician and its only medical doctor between 2002 and

November 2017. During the entirety of Dr. McGree’s employment with NAIA,

the Underlying Lawsuit alleges that he subjected multiple female patients to

unwanted and unsolicited conduct while the patients were receiving medical care at

NAIA, including, but not limited to, sexual assault, sexual servitude, and rape.

        34.      During this time, the Amended Complaint alleges that on multiple

occasions certain of the purported class members made specific complaints to

NAIA with regard to Dr. McGree’s conduct, and that such complaints were

formally discussed on multiple occasions by NAIA’s Board of Directors. However,

despite these alleged complaints to NAIA, NAIA allegedly failed to take any

actions to investigate the claims or to otherwise implement any steps to provide for

the safety, security, and wellbeing of NAIA’s female patients of Dr. McGree.


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        35.      The Amended Complaint asserts a single cause of action against

NAIA for negligence. The negligence count against NAIA alleges that, as a

medical care provider to the purported class members and as Dr. McGree’s

employer, NAIA owed the purported class members various duties of care,

including a duty of care to implement, safeguard, monitor, supervise, investigate,

identify, and/or report any negligent actions/omissions or medical malpractice of

Dr. McGree so as to prevent injury or harm to the purported class members. The

allegations in the negligence count against NAIA allege further that, among other

things, NAIA had a duty to properly investigate reports/complaints regarding Dr.

McGree’s alleged conduct, that it had a duty to report Dr. McGree’s conduct to the

appropriate authorities, and that it had a duty to protect and safeguard the

purported class members from being subjected to Dr. McGree’s conduct. The

Underlying Lawsuit alleges, however, that NAIA breached these duties and was

negligent in failing to do so despite allegedly being aware, or having should been

aware, of such conduct.

        36.      As a result of NAIA’s alleged negligent acts and breaches of duties,

the Underlying Lawsuit asserts that NAIA proximately caused injury, harm, and

other damages to the purported class members. As such, the Underlying Litigation

asserts that the purported class members are entitled to full recovery of all of their

damages from NAIA.


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        D.       Notice to GenStar and Coverage Dispute

        37.      NAIA gave GenStar notice of the Underlying Lawsuit on or around

March 14, 2019, and GenStar acknowledged receipt on or around that same day.

        38.      On April 2, 2019, GenStar agreed to assume the defense of NAIA in

the Underlying Lawsuit pursuant to a full reservation of rights (the “Reservation of

Rights Letter”). A true and accurate copy of GenStar’s Reservation of Rights

Letter is attached hereto as Exhibit D. Among other things, the Reservation of

Rights Letter reserved the right to deny coverage because the allegations of the

Underlying Lawsuit alleged misconduct prior to the Retroactive Date, and further

reserved the right to rescind the Policy for misrepresentations on the Application.

        39.      GenStar has been paying for NAIA’s defense in the Underlying

Lawsuit since March 14, 2019.

        40.      It is GenStar’s position that the Application contains material

misrepresentations, such that rescission of the Policy is appropriate.

        41.      It is further GenStar’s position that, even if the Policy were not

rescinded, the Policy would still not provide coverage for NAIA’s defense or

indemnification in the Underlying Lawsuit because that lawsuit alleges misconduct

that first occurred prior to the Retroactive Date in the Policy.

        42.      It is also GenStar’s position that, because the Policy should be

rescinded and/or does not provide coverage for NAIA’s defense in the Underlying


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Lawsuit, GenStar is entitled to recoupment of the defense costs that it has paid to

date on behalf of NAIA in the Underlying Lawsuit.

        43.      An actual controversy exists between GenStar and NAIA regarding

GenStar’s obligations, if any, to defend or indemnify NAIA in the Underlying

Lawsuit and GenStar’s right to recoupment for the defense costs incurred on

NAIA’s behalf.

                                COUNT I - RESCISSION

        44.      GenStar reasserts and incorporates by reference the above Paragraphs

as if fully set forth herein.

        45.      NAIA submitted the Application to GenStar approximately eight

months after Dr. McGree was arrested and criminally charged with sexually

assaulting female patients at NAIA.

        46.      NAIA was aware of Dr. McGree’s arrest and the criminal charges

against him at the time that it submitted the Application.

        47.      Question V.3.a on the Application asked if NAIA was aware of

known losses or claims that have not been reported to a prior insurance carrier or

any other source from which payment might be made. NAIA responded “no.”

        48.      Question V.3.b on the Application asked NAIA if it had knowledge of

facts or circumstances that relate to a medical incident arising from professional

services which could reasonably result in a claim. NAIA responded “no.”


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        49.      Question V.3.c. on the Application asked if NAIA had knowledge of

any requests by a patient and his/her attorney which might result in a claim. NAIA

responded “no.”

        50.      Questions V.3.a, V.3.b, and V.3.c in the Application (collectively, the

“Application Questions”) were sufficiently specific so that a reasonable person

would have understood the requirement to provide the particular facts regarding

the criminal charges against Dr. McGree in response to that question.

        51.       NAIA’s response to the Application Questions were material to

GenStar’s decisions to provide coverage to NAIA, to determine the premium or

rate to be charged for the coverage and/or to specifically exclude any coverage to

NAIA for prior conduct of Dr. McGree .

        52.      GenStar issued the Policy in reliance upon NAIA’s representations in

the Application, including NAIA’s response to the Application Questions.

        53.      The Policy provides that:

                 Rescission, Concealment, Misrepresentation, Fraud

                 By signing the application for insurance and accepting
                 this policy, you on behalf of all Insured agree, represent
                 and warrant that:

                 a. The statements and information contained in the
                 Application, including all statements, information and
                 documents referenced in, accompanying, or relating to,
                 the Application are:

                 (1) Incorporated in and made part of this policy by
                 reference;
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                 (2) accurate and complete and no facts have been
                 suppressed, omitted or misstated; and
                 (3) Material to us, and we have issued this policy in
                 reliance upon the truth, completeness and accuracy of the
                 information contained in the application and its
                 supporting documents;

                 b. Any failure to fully and accurately disclose the
                 information requested in the Application, whether by
                 omission or suppression, or any misrepresentation in the
                 statements and information contained in the Application,
                 including all statements, information and documents
                 referenced in, accompanying, or relating to, the
                 application, renders coverage for any claim(s) or
                 potential claim(s) null and void and entitles us to rescind
                 the policy from its inception.

        54.      NAIA’s responses to the Application Questions were material

misrepresentations. At the time that NAIA submitted these responses, NAIA was

aware that Dr. McGree had been criminally charged with sexually assaulting female

patients at NAIA, and that these charges constituted a loss and/or could reasonably

result in a claim against NAIA. Further, upon information and belief, NAIA had

received requests from medical records from female patients of Dr. McGree at the

time of the Application, and that these requests related to a potential claim against

NAIA.

        55.      If NAIA had disclosed the criminal charges against Dr. McGree on the

Application, GenStar in good faith would either have not issued the Policy to NAIA

at all, or would not have issued the Policy in as large an amount or at the same



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premium or rate or would not have provided coverage for sexual abuse or

molestation claims involving Dr. McGree.

        56.      GenStar reasonably relied upon the accuracy of NAIA’s answers in the

Application.

        57.      As a direct and proximate consequence of NAIA’s misrepresentations

on the Application, GenStar issued liability insurance to NAIA at a premium and on

terms that it would not have issued had it known about the criminal charges against

Dr. McGree.

        58.      As a result, the Policy is voidable due to the material misrepresentation

in NAIA’s responses to the Application Questions. The Policy should be rescinded,

and GenStar should be awarded recoupment of the defense costs that it has paid on

behalf of NAIA in the Underlying Lawsuit.

  COUNT II - DECLARATORY JUDGMENT - NO COVERAGE DUE TO
                    RETROACTIVE DATE

        59.      GenStar reasserts and incorporates by reference the above Paragraphs

as if fully set forth herein.

        60.      Subject to its other terms, conditions, and exclusions, the Policy

provides that:

                 An abuse or molestation claim, including a related
                 abuse or molestation claim or potential claim, if such
                 coverage is indicated as provided in the Declarations,
                 will be deemed:


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                 (1) To have occurred at the time of the first abuse or
                 molestation incident;
                 2) To be covered under this Coverage Part only if the
                 first abuse or molestation incident takes place on or
                 after the Retroactive Date shown in the Declarations or
                 Endorsement or Schedule attached to this policy and
                 before the end of the policy period and is made and
                 reported in accordance with Paragraph 1 a. and b. of the
                 Insuring Agreement.

        61.      The Policy defines “abuse or molestation” and “related abuse or

molestation” as follows:

                 1. Abuse or Molestation means:
                 a. The alleged, actual, threated, unwelcome or offensive:

                     (1) Physical conduct, including sexual abuse or
                     molestation; or

                     (2) Verbal or written conduct or conduct using visual
                     images, including conduct by electronic means;

                     Including:
                     b. The negligent

                          (1) Employment;
                          (2) Investigation;

                          (3) Supervision;

                          (4) Reporting to proper authorities, or failure to so
                          report; or

                          (5) Retention;

                 of a person for whom any insured is or ever was legally
                 responsible, and who conduct is defined by Paragraph
                 1.a.(1) and (2) above; and

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                 c. Breach of any legal obligation arising out of any abuse
                 or molestation event, or suspected or threatened
                 molestation, or breach of any duty to any person who was
                 abused or molested.

                 ***
                 22. Related abuse or molestation means acts having a
                 common nexus with, or involving, a series of casually or
                 logically related acts.

        62.      The Retroactive Date for Abuse or Molestation in the Policy is

September 16, 2005.

        63.      The Underlying Lawsuit’s claims against NAIA allege “related abuse

or molestation,” as the claims concern the actions of a single perpetrator against

female patients at NAIA.

        64.      The Underlying Lawsuit alleges that Dr. McGree’s treatment of the

named plaintiffs at NAIA began in 2002, years prior to the Retroactive Date, and

that his abuse of these plaintiffs was ongoing throughout this time.

        65.      Additionally, medical records for certain of the named plaintiffs

confirm that Dr. McGree began treating these individuals at NAIA at least by 2004

and early 2005, prior to the Retroactive Date.

        66.      The first “abuse or molestation incident” alleged against Dr. McGree

in the Underlying Lawsuit, therefore, occurred prior to the Retroactive Date.

        67.      Therefore, and in the alternative if the Policy is not rescinded, the

Underlying Lawsuit does not trigger coverage under the Policy.


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        68.      An actual controversy exists between GenStar and NAIA regarding

whether the Underlying Lawsuit triggers coverage under the Policy.

        69.      GenStar is entitled to a declaration pursuant to 28 U.S.C. § 2201 that

the Policy does not obligate it to defend or indemnify NAIA for the Underlying

Lawsuit because the Underlying Lawsuit is based upon alleged misconduct that first

took place prior to the Retroactive Date, and is entitled to recoupment of the defense

costs that it has paid on behalf of NAIA in the Underlying Lawsuit.

  COUNT III - DECLARATORY JUDGMENT - NO COVERAGE UNDER
              THE POLICY FOR ADDITIONAL REASONS
        70.      GenStar reasserts and incorporates by reference the above Paragraphs

as if fully set forth herein.

        71.      In the alternative, assuming that the Policy is not rescinded, the

obligation of GenStar to defend or indemnify NAIA in the Underlying Lawsuit also

is limited, barred, or excluded by one or more of various other terms, conditions, and

provisions of the Policy, and for other reasons, as follows:

              a. To the extent the Underlying Lawsuit does not allege a “medical

                 incident” as that term is defined by the Policy;

              b. To the extent that NAIA does not incur “damages” that it is legally

                 obligated to pay in connection with the Underlying Lawsuit;




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             c. To the extent that the Underlying Lawsuit asserts any claim arising out

                 of, resulting from, caused by or contributed to by “bodily injury” not

                 caused in connection with a “medical incident”;

             d. To the extent that the Underlying Lawsuit asserts any claim that arises

                 out of, results from, was caused by, or was contributed to be “any

                 criminal, malicious, dishonest, fraudulent act, error or omission

                 committed by or at the direction of any Insured”;

             e. To the extent that NAIA concealed, misrepresented, misstated, or

                 suppressed any fact in connection with any claim or potential claim;

             f. To the extent that the Underlying Lawsuit asserts any claim for a

                 “medical incident” which NAIA had knowledge of before the effective

                 date of the first policy issued to NAIA that would have caused a

                 reasonable person to believe a claim would be made; and

             g. To the extent NAIA has failed to present GenStar with sufficient facts

                 to demonstrate that it is entitled to any coverage under the Policy.

                                PRAYER FOR RELIEF

        WHEREFORE, GenStar respectfully requests that this Court enter a

        judgment:

        A. rescinding the Policy due to NAIA’s material misrepresentation regarding

             the criminal charges against Dr. McGree on the Application;


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        B. in the alternative, if the Policy is not rescinded, declaring that GenStar

             owes no duty to defend or indemnify NAIA in the Underlying Lawsuit;

        C. awarding GenStar recoupment for the defense costs that it has paid on

             behalf of NAIA in the Underlying Lawsuit; and

        D. for all such other and further relief as the Court deems equitably just and

             proper.

        Dated: March 12, 2021
                                  DAVIS, HATLEY, HAFFEMAN & TIGHE, P.C.

                                  By /s/ Maxon R. Davis                          _
                                         Maxon R. Davis
                                         P.O. Box 2103
                                         Great Falls, Montana 59403-2103
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